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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   CELLULAR COMMUNICATIONS
   EQUIPMENT LLC,

         Plaintiff,
                                                                 No. 2:17-CV-00078-RWS-RSP
   v.                                                                              (lead case)

   HTC CORPORATION, ET AL,

         Defendants.

                                  DOCKET CONTROL ORDER

         Having considered the parties' competing proposed docket control orders, see Joint

  Notice [Dkt. # 107], the Court sets the following deadlines in this case.

        Deadline                                             Event

   July 8, 2019             *Jury Selection – 9:00 a.m. in Marshall, Texas
                            Before Judge Robert Schroeder III


   June 7, 2019             *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                            Before Judge Roy S. Payne


   June 3, 2019             *Notify Court of Agreements Reached During Meet and Confer

                            The parties are ordered to meet and confer on any outstanding
                            objections or motions in limine. The parties shall advise the Court of
                            any agreements reached no later than 1:00 p.m. three (3) business days
                            before the pretrial conference.

   May 30, 2019             *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                            Proposed Verdict Form, Responses to Motions in Limine, Updated
                            Exhibit Lists, Updated Witness Lists, and Updated Deposition
                            Designations
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   May 23, 2019      *File Notice of Request for Daily Transcript or Real Time Reporting.

                     If a daily transcript or real time reporting of court proceedings is
                     requested for trial, the party or parties making said request shall file a
                     notice with the Court and e-mail the Court Reporter, Shelly Holmes, at
                     shelly_holmes@txed.uscourts.gov.

   May 16, 2019      File Motions in Limine

                     The parties shall limit their motions in limine to issues that if improperly
                     introduced at trial would be so prejudicial that the Court could not
                     alleviate the prejudice by giving appropriate instructions to the jury.

   May 16, 2019      Serve Objections to Rebuttal Pretrial Disclosures

   May 2, 2019       Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                     Disclosures

   April 26, 2019    Serve Pretrial Disclosures (Witness List, Deposition Designations, and
                     Exhibit List) by the Party with the Burden of Proof

   April 22, 2019    File Sur-Replies in Support of Dispositive Motions and Motions to
                     Strike Expert Testimony (including Daubert Motions)


   April 11, 2019    File Replies in Support of Dispositive Motions and Motions to Strike
                     Expert Testimony (including Daubert Motions)


   April 1, 2019     File Oppositions to Dispositive Motions and Motions to Strike Expert
                     Testimony (including Daubert Motions)




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   March 8, 2019        *File Dispositive Motions and Motions to Strike Expert Testimony
                        (including Daubert Motions)

                        No dispositive motion may be filed after this date without leave of the
                        Court.

                        No motion to strike expert testimony (including a Daubert motion) may
                        be filed after this date without leave of the Court.

                        Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                        Motions to extend page limits will only be granted in exceptional
                        circumstances.   Exceptional circumstances require more than
                        agreement among the parties.

   March 8, 2019        Deadline to Complete Expert Discovery

   February 11, 2019    Serve Disclosures for Rebuttal Expert Witnesses

   January 14, 2019     Deadline to Complete Fact Discovery and File Motions to Compel
                        Discovery

   January 14, 2019     Serve Disclosures for Expert Witnesses by the Party with the Burden of
                        Proof

   December 3, 2018     Deadline to Complete Mediation

                        The parties are responsible for ensuring that a mediation report is filed
                        no later than 5 days after the conclusion of mediation.

   November 26, 2018    Comply with P.R. 3-7 (Opinion of Counsel Defenses)

   November 1, 2018     Claim Construction Hearing – 9:00 a.m., before Judge Payne

   October 22, 2018     *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

   October 15, 2018     *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

   October 8, 2018      Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

   September 24, 2018   Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                        Submit Technical Tutorials (if any)

                        Good cause must be shown to submit technical tutorials after the
                        deadline to comply with P.R. 4-5(a).




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   September 24, 2018      Deadline to Substantially Complete Document Production and
                           Exchange Privilege Logs

                           Counsel are expected to make good faith efforts to produce all
                           required documents as soon as they are available and not wait
                           until the substantial completion deadline.

   September 10, 2018      Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                           Discovery)

   September 10, 2018      File Response to Amended Pleadings

   August 27, 2018         *File Amended Pleadings

                           It is not necessary to seek leave of Court to amend pleadings prior to
                           this deadline unless the amendment seeks to assert additional patents.

   August 20, 2018         Comply with P.R. 4-3 (Joint Claim Construction Statement)

   July 30, 2018           Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

   July 16, 2018           Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

   (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
   shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

          Indefiniteness: In lieu of early motions for summary judgment, the parties are
  directed to include any arguments related to the issue of indefiniteness in their Markman
  briefing, subject to the local rules’ normal page limits.

          Motions for Continuance: The following excuses will not warrant a continuance
  nor justify a failure to comply with the discovery deadline:

         (a)       The fact that there are motions for summary judgment or motions to dismiss
  pending;

          (b)    The fact that one or more of the attorneys is set for trial in another court on the
  same day, unless the other setting was made prior to the date of this order or was made as a
  special provision for the parties in the other case;

        (c)      The failure to complete discovery prior to trial, unless the parties can
  demonstrate that it was impossible to complete discovery despite their good faith effort to do
  so.




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   Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on the
   DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
   include a proposed order that lists all of the remaining dates in one column (as above) and the
   proposed changes to each date in an additional adjacent column (if there is no change for a date
   the proposed date column should remain blank or indicate that it is unchanged). In other words,
   the DCO in the proposed order should be complete such that one can clearly see all the
   remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
   to an earlier version of the DCO.
           SIGNED this 3rd day of January, 2012.
          SIGNED this 20th day of June, 2018.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




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